

People v Jackson (2023 NY Slip Op 05103)





People v Jackson


2023 NY Slip Op 05103


Decided on October 10, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 10, 2023

Before: Manzanet-Daniels, J.P., Gesmer, González, Kennedy, O'Neill Levy, JJ. 


Ind. No. 1226/16, 817/17 Appeal No. 739 Case No. 2018-4908, 2019-4489 

[*1]The People of the State of New York, Respondent,
vRaheen Jackson, Defendant-Appellant.


Caprice R. Jenerson, Office of Appellate Defender, New York (Stephanie Sonsino of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Emily A. Aldridge of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Michael A. Gross, J., at suppression hearing; Ralph Fabrizio, J, at plea and sentencing), rendered July 23, 2018, convicting defendant of criminal possession of a weapon in the second degree, and sentencing him to a term of 3½ years followed by five years' postrelease supervision, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 US __, 140 S Ct 2634 [2020]). The combination of the court's colloquy and the detailed written waiver that defendant signed after consultation with counsel satisfied the requirements of a valid waiver. This waiver forecloses review of defendant's suppression claim.
In view of this holding, we need not reach the remaining issues.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 10, 2023








